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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Richmond Division



LISA E. HILL-GREEN,

                Plaintiff,

V.                                                            Civil Action No. 3:18CV873


CITIMORTGAGE,INC.,

                Defendant.


                                  INITIAL PRETRIAL ORDER


         The following shall govern the progress of this action in addition to the provisions of the

Federal Rules of Civil Procedure as modified and/or enlarged upon by the Local Rules for this

Court.


                                             Trial Date


         1.     Trial is scheduled with a jury to commence on OCTOBER 17,2019, at 10:00

a.m. and continue through OCTOBER 18, 2019. The parties shall appear at 9:00 a.m. to address

any pretrial matters should they arise.

                                       General Instructions


         A.     Conflict with the Local Rules, Federal Rules of Civil Procedure, or Prior
                Pretrial Orders


         2.     This Order shall control if any conflict is perceived between it and either the

Federal or Local Rules. This Order shall supersede all prior Pretrial Orders that have been

entered in this matter.
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